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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



 IN RE GEORGIA SENATE BILL 202                      Master Case No.
                                                    1:21-MI-55555-JPB



                   CERTIFICATE OF SERVICE FOR
                 STATE DEFENDANTS’ NOTICES OF
               RULE 30 AND RULE 30(b)(6) DEPOSITIONS

      Pursuant to Local Rule 5.4, I hereby certify that on February 8, 2023,

the State Defendants served the following Rule 30 Notices of Deposition by

electronic mail on counsel for all parties in this action:

      Fannie Marie Jackson Gibbs; and

      Angelina Thuy Uddullah.

      I hereby further certify that on February 8, 2023, the State Defendants

served the following 30(b)(6) Notices of Deposition by electronic mail on counsel

for all parties in this action:

      Delta Sigma Theta Sorority, Inc.;

      Georgia Latino Alliance for Human Rights;

      Latino Community Fund of Georgia; and

      Sixth District of the African Methodist Episcopal Church.

      I hereby further certify that on February 10, 2023, the State Defendants
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served the following Rule 30 Notices of Deposition by electronic mail on counsel

for all parties in this action:

      Nora Aquino;

      Jauan Durbin;

      Anjali Enjeti-Sydow;

      Steven Paik;

      Deepum Patel; and

      Elbert Solomon.

      I hereby further certify that on February 10, 2023, the State Defendants

served the following 30(b)(6) Notices of Deposition by electronic mail on counsel

for all parties in this action:

      The Arc of the United States;

      Asian Americans Advancing Justice-Atlanta;

      Black Voters Matter Fund;

      Common Cause;

      The Concerned Black Clergy of Metropolitan Atlanta, Inc.;

      First Congregational Church, United Church of Christ, Inc.;

      GALEO Latino Community Development Fund, Inc.;

      Georgia ADAPT;

      Georgia Advocacy Office;

      Georgia Muslim Voter Project;

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     Georgia State Conference of the NAACP;

     The Justice Initiative;

     Lower Muskogee Creek Tribe;

     Metropolitan Atlanta Baptist Ministers Union, Inc.;

     New Georgia Project;

     Rise, Inc.; and

     Women Watch Afrika.



February 13, 2023                 Respectfully submitted,

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